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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
   UNITED STATES OF AMERICA,
                  -v-                   Criminal No. 1:23−cr−00070−CJN−1
      JESSE JAMES RUMSON
           Defendant.


                             [PROPOSED] ORDER


      Upon consideration of Defendant’s Motion for Admission Pro Hac Vice of Roger

Roots, it is hereby ORDERED that the Motion is GRANTED. Roger Roots is

admitted pro hac vice and may appear on behalf of Defendant Jesse James Rumson,

in the above-captioned matter.


Dated:              , 2022


                                     United States District Judge
